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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, )               1:21-cr-00074-DLF
                          )
         Plaintiff,       )               RESPONSE TO THE
                          )               GOVERNMENT’S SENTENCING
     vs.                  )               MEMORANDUM
                          )
JOSIAH COLT,              )
                          )
         Defendant.       )
                          )




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                       Response to the Government’s
                         Sentencing Memorandum

      The government’s sentencing memorandum is flawed in many respects.

Three will be addressed in this response. First, the government subtly distorts

the nature and scope of Josiah’s travel preparations as weeks of planning for a

“civil war,” an alleged reference to the eventual riot at the Capitol. In fact,

Josiah’s preparations and proclamations, prior to former President Trump’s

speech, were made in anticipation of violent counterprotests at the “Stop the

Steal” rally, not for what became the riot at the Capitol. In a similar fashion,

the government attributes actions and comments of others to Josiah as if he

necessarily condoned them by his mere presence.

      Second, the government defines Josiah by his worst decisions during a

few moments of a single day in his life—when in fact his “history and

characteristics” are those of an individual, now in his mid-30s, who has tried

to live his entire life according to moral principles. The truth is that Josiah is

a good person who made a series of very bad choices based on misinformation

and the emotional oratory of a demagogue.

      Third, the government discounts Josiah’s sincere, and repeated,

declarations of remorse. By doing so, the government seeks to present Josiah

as a danger to the community despite his excellent performance while released

over the past 30 months; release supported by the government until now.



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     1. The government’s subtle and inflammatory distortions.

        The government inaccurately conflates Josiah’s earlier preparations for

the “Stop the Steal” rally with the subsequent planning and unlawful conduct

at the Capitol. For example, the government asserts:

        The defendant, Josiah Colt, together with his coconspirators, Ronald
        Sandlin and Nathaniel DeGrave,1 substantially planned for and then
        participated in the January 6, 2021 attack on the United States
        Capitol—
                                         ****
        Cole anticipated a “civil war” in the nation’s capital on January 6 and
        planned for weeks in advance to interfere with the peaceful
        transition of power[.]

Dkt. 41, at 1, 3 (emphasis added). These are misleading statements, at best.

Indeed, as subtly conceded by the government elsewhere in its memorandum,

Josiah planned for the expectation of violence at the “Stop the Steal” rally,

not the eventual riot. Id., at 2 (“Colt and his co-conspirators traveled to

Washington D.C. to attend the ‘Stop the Steal’ rally with the expectation that

there would be violence—specifically, a ‘civil war.’”). 1 That is much closer to a

clear statement of the truth.

        The   fact   is   that   Josiah,   and   others,   were   expecting   violent

counterprotests by Antifa and/or BLM. Indeed, the violence from Antifa and



1 The idea of an “Antifa civil war” was not uncommon on conservative junk news
sites during former President Trump’s tenure in the White House. See, e.g.,
https://www.pbs.org/newshour/nation/google-top-stories-featured-false-news-
rumored-antifa-civil-war



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BLM related riots leading up to the events of January 6 remains a hot issue

for many members in Congress. A transcript from a 2022 hearing about the

January 6 investigation includes the following comments:

        Mr. Higgins: Nineteen people died during BLM riots last year. Hundreds
        and hundreds were injured. Two thousand police officers were injured
        from BLM riots last year. And yet we are going to discuss today, as if
        none of that happened, the events of January 6.
        ....
        Mr. Fallon: [Republicans] have condemned violence, rioting, and
        mayhem at every turn. We did so in the summer of 2020 during the BLM
        and Antifa violent riots that swept the country in 140 cities, cost $2
        billion in damages, and killed two dozen Americans. 2

        The government’s narrative has been carefully crafted.          Take, for

example, the government’s description of the “debate” whether to bring a

firearm to the January 6 rally. In this instance, the government quotes from

a short video clip but omits some critical quotable material. Here is what is

missing, from Josiah’s own mouth at the time:

        And are they going to be arming Antifa with guns? That’s not out of the
        question. They were dropping off bricks yesterday. Apparently.
        Allegedly. I didn’t see them.

Dkt. 41, Ex. 1 (0:00:26-0:00:38). 3 Omitting the reference to Antifa and the

rumors of bricks alters the context of the “debate.” The fact is that Josiah was



2https://www.govinfo.gov/content/pkg/CHRG-117hhrg44570/html/CHRG-
117hhrg44570.htm
3 Social media and other outlets contended that Antifa was known to use bricks at
protests and counterprotests. See, e.g.,
https://twitter.com/DogpatchPress/status/1268049952371929088


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expecting violence from the counter-protesters. And just as people had died

from such acts of violence over the prior summer, he thought there could be

bloodshed at the rally as well. Nevertheless, as the government rightfully

concedes, Josiah refrained from bringing the firearm out of respect for the law

in Washington D.C. 4

        In the end, the eventual decision to march on the Capitol was made after

the call to action by the former president and his surrogates. At that point,

Josiah and his co-conspirators adjusted their plans and headed to the Capitol

with the “tactical gear,” walkie-talkies, etc., that they already had for the rally.

        Beyond the subtle but inflammatory mischaracterization of the nature

and scope of Josiah’s preparations, the government unfairly attributes the full

weight of every aggravating comment and action by Sandlin and DeGrave,

every matter recorded on his GoPro, and every incident at the Capitol that day

(whether observed or not), as if Josiah condoned all of it. For example, the

government recounts an incident in which an officer was pepper sprayed

during an assault in which Sandlin and DeGrave (but not Josiah) participated.

The government suggests, but is careful not to directly assert, that Josiah




4 Josiah had his full Second Amendment rights prior to January 6 but was apparently
ignorant of local law on the issue until he had already arrived. Simply Google
“protests with guns in Idaho” and the Court can see how common it is in Idaho for
protestors (and counter protestors) to bring guns to rallies.


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witnessed the event, condoned it, and ignored the officer as he suffered through

momentary blindness. Dkt. 41., at 11 (“Despite recording this moment with

his GoPro, Colt continued on his path through the Capitol.”).

      Please carefully watch (and re-watch) the relevant portion of the video.

It is short, and things were chaotic. Ex. 7 (0:02:13-0:02:18). The clip shows

Josiah initially some distance away from the crowd and focused on trying to

get Sandlin’s attention. Very quickly, a large group of people, including the

infamous “zip tie guy” quickly approached Josiah where he stood on the stairs.

The fact is that Josiah neither saw the assault nor the wounded officer. Here

is a still from those few seconds:




      And here is the bottom line: Josiah’s conduct on January 6 was

reprehensible and felonious. He does not contest that. But his sentence should

reflect his actual conduct; it should not be distorted to justify a sentence

greater than necessary.




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   2. The government’s ignorance and/or neglect of Josiah’s history
      and characteristics.

      In all fairness to the government on this one, despite the information

contained in the PSR, they were likely unaware of just how much of a boy scout

(literally) Josiah has been his entire life, and how he has gone the extra mile,

e.g., volunteering as a security guard, volunteering to repair roofs, etc., during

his period of release since his offense. That said, the government should know

better than to effectively equate any defendant’s entire life history to their

worst moments, especially a defendant who has never even spent a night in a

jail. None of us would want that, because it is not fair.

      Dedicating just three sentences to this sentencing factor demonstrates

why the government’s recommendation for a guideline sentence, even one at

the low end, should not carry the day. Compare Dkt. 41, at 18 with Dkt. 40-1,

at 9-22. Given Josiah’s overwhelmingly positive history and characteristics,

this sentencing factor justifies a downward variance.

   3. The government discounts Josiah’s sincere, and repeated,
      declarations of remorse.

      Another three problems with this third flaw. First, contrary to the

government’s assertions, Josiah is remorseful. Yes, no doubt he knew he would

be caught. Certainly, that is one reason why he voluntarily surrendered, and

it also likely affected his decision to make a public proclamation of his remorse.

Here was just one of his statements, made on just the day after the riot:


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      I sincerely apologize to the American people. I recognize my actions that
      have brought shame upon myself, my family, my friends, and my
      beautiful country. In the moment I thought I was doing the right thing.
      I realize now that my actions were inappropriate, and I beg for
      forgiveness from America and my home state of Idaho.

Dkt. 40-1, Ex. A. Josiah stands by every word of that to this day. It is not

necessarily an insincere statement simply because it may also support a call

for leniency.

      The fact is that Josiah did not know the extent of damage and loss of life

that occurred at different times and locations from him at the Capitol because

he had already left the Capitol. Once the gravity of the situation settled in,

and the adrenaline wore off, and once he learned the extent of the destruction,

Josiah felt genuine remorse. So, he tried to make amends. Yet, under the

government’s reasoning, no act of contrition under circumstances such as

Josiah faced could ever be seen as sincere. That analysis is too cynical for our

system of justice.

      Second, the government spills quite a bit of ink quoting from a different

judge addressing a different defendant in a different case, effectively urging the

Court to adopt those findings for Josiah. Dkt. 41, at 19. But who even is

Matthew Mazzocco? What exactly did he do? What did he say and when? More

importantly, what are his history and characteristics? Did he also cooperate?




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      Josiah trusts the Court will make its own assessment. And for his part,

Josiah will be prepared to answer any concerns the Court has about the

sincerity of his remorse and/or the motivation for his public statements.

      Third, the government’s unwarranted attacks on Josiah’s sincerity are

apparently designed to support its argument that “specific deterrence”

warrants incarceration based on the fear that he might re-offend. This is one

of the most puzzling of the government’s arguments. After all, except for his

brief detention during a book and release procedure in January 2021, Josiah

has remained out of custody in large part due to the government’s recognition

that he does not present a danger to the community. Further, since his release,

he has been a model citizen, and complied with all conditions of his release.

See, e.g., Dkt. 20, 26, 28, 29, 31, and 34. Notably, Josiah has been out of custody

for thirty (30) months. Nothing has changed to support an argument that

incarceration is necessary to protect the public.

                                  Conclusion

      The government makes a sentencing recommendation of 18 months

incarceration, representing the low-end of the applicable guideline range after

a departure for substantial assistance.       For the reasons outlined in this

response, the government’s recommendation is tainted by some seriously

flawed assessments of the facts. Regardless, the guidelines range, upon which

the government’s recommendation is ultimately premised, is only the starting


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point for the Court’s determination of a sentence.      And the departure for

substantial assistance does not account for mitigating circumstances such as

Josiah’s history and characteristics, his sincere expressions of remorse, and his

long-term compliance with the conditions of his release. Accordingly, Mr. Colt

respectfully maintains that a sentence of six months home confinement is

sufficient to accomplish the purposes of sentencing.



Dated: May 5, 2023                   Respectfully submitted,

                                     NICOLE OWENS
                                     FEDERAL PUBLIC DEFENDER
                                     By:



                                     /s/ Mark Ackley
                                     Mark Ackley
                                     Federal Defender Services of Idaho
                                     Attorneys for Defendant
                                     JOSIAH COLT




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                        CERTIFICATE OF SERVICE

I CERTIFY that I am an employee of the Federal Defender Services of Idaho,
and that a copy of the foregoing document, RESPONSE TO THE
GOVERNMENT’S SENTENCING MEMORANDUM, was served on all parties
named below on this 5th day of May 2023.


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Dated: May 5, 2023                  /s/ Joy Fish
                                    Joy Fish




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